Filed 10/08/19                                     Case 19-21640                                          Doc 137



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          )   Case No. 19-21640 - B - 11
            Debora Leigh Miller-Zuranich,                  )   Docket Control No. PLC-7
            Debtor.                                        )   Document No. 110
                                                           )   Date: 10/08/2019
                                                           )   Time: 2:00 PM
                                                           )   Dept: B



                                                        Order


           Findings of fact and conclusions of law having been stated orally on
           the record and good cause appearing.

           IT IS ORDERED that the motion to employ is DENIED AS MOOT.


                        October 09, 2019




           [110] - Motion/Application to Employ Stanley Cornelius as Realtor(s) [PLC-7] Filed by Debtor
           Debora Leigh Miller-Zuranich (mfrs)
